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                           UNITED
                  Case 07-44102      STATES
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                                                     DISTRICT OF MASSACHUSETTS
                                                        WORCESTER DIVISION

In re: TERRY ROY                                                                                       Case No.: 07-44102-MSH
       KANDY ROY
              Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Denise M. Pappalardo, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to
11 U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 11/16/2007 and was converted to chapter 13 on 03/19/2009.
2) The plan was confirmed on 06/20/2009.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on 10/20/2009, 10/21/2009.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was completed on 05/16/2014.
6) Number of months from filing or conversion to last payment: 62.
7) Number of months case was pending: 64.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 27,525.00.
10) Amount of unsecured claims discharged without full payment: 120,568.53.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:          $25,680.00
        Less amount refunded to debtor:                           $.00
 NET RECEIPTS:                                                                 $25,680.00

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                $4,291.68
        Court Costs:                                                                $.00
        Trustee Expenses and Compensation:                                    $2,031.26
        Other:                                                                      $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                               $6,322.94

 Attorney fees paid and disclosed by debtor:              $2,301.00




 Scheduled Creditors:
Creditor                                                     Claim             Claim             Claim          Principal           Interest
Name                                         Class           Scheduled         Asserted          Allowed        Paid                Paid
AMERICAN EXPRESS CENTURION                   Unsecured         34,568.00       36,476.37       36,476.37         7,003.03                  .00
AMERICAN EXPRESS CENTURION                   Unsecured          2,151.00              NA              NA               .00                 .00
AMERICAN EXPRESS CENTURION                   Unsecured                   NA     4,560.14        4,560.14           875.49                  .00
BELLSOUTH REGIONAL BANKRUPTCY CTR
                               Unsecured                        1,226.00              NA              NA               .00                 .00
BILL ME LATER                                Unsecured            170.00              NA              NA               .00                 .00
CAPITAL ONE AUTO FINANCE                     Unsecured         19,335.00       20,335.01       20,335.01         3,904.10                  .00
CAPITAL ONE BANK                             Unsecured          2,618.00              NA              NA               .00                 .00
CAPITAL ONE BANK                             Unsecured            519.00              NA              NA               .00                 .00
CAPITAL ONE BANK                             Unsecured          1,849.00              NA              NA               .00                 .00
CAPITAL ONE BANK                             Unsecured            544.00              NA              NA               .00                 .00
CAPITAL ONE BANK                             Unsecured            366.00              NA              NA               .00                 .00
CAPITAL RECOVERY V, LLC                      Other                305.00          433.86              .00              .00                 .00
CAPITAL RECOVERY V, LLC                      Other                       NA       192.60              .00              .00                 .00
CAPITAL RECOVERY V, LLC                      Other                       NA     1,501.99              .00              .00                 .00
CAVALRY PORTFOLIO SERVICES, LLC              Unsecured            168.00              NA              NA               .00                 .00

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In re: TERRY ROY                                                                   Case No.: 07-44102-MSH
       KANDY ROY
              Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                          Claim         Claim        Claim        Principal           Interest
Name                               Class          Scheduled     Asserted     Allowed      Paid                Paid
CHARTER COMMUNICATIONS             Unsecured           45.00          NA          NA             .00                 .00
CHASE BANK USA, N.A.               Unsecured        3,235.00     3,734.76    3,734.76        717.03                  .00
CHASE BANK USA, N.A.               Unsecured          209.00      325.65      325.65          62.52                  .00
CITIBANK USA                       Unsecured        8,190.00          NA          NA             .00                 .00
CONCORD SERVICING CORPORATION Secured               4,054.00          NA          NA             .00                 .00
CONCORD SERVICING CORPORATION Unsecured               253.00          NA          NA             .00                 .00
ECAST SETTLEMENT CORPORATION       Unsecured          290.00      500.81      500.81          96.15                  .00
ECAST SETTLEMENT CORPORATION       Unsecured             NA       531.16      531.16         101.98                  .00
FDS BANK / MACYS                   Unsecured          235.00          NA          NA             .00                 .00
GE MONEY BANK                      Unsecured        1,173.00          NA          NA             .00                 .00
GEORGIA DEPARTMENT OF REVENUE Priority                300.00      305.60      305.60         305.60                  .00
GMAC                               Secured         15,801.00     7,541.99    7,541.99     1,447.98                   .00
HOMEWARD RESIDENTIAL INC.          Secured        249,375.00   269,629.78   55,737.32            .00                 .00
HOMEWARD RESIDENTIAL INC.          Special               NA           .00         .00            .00                 .00
HSBC CARD SERVICES                 Unsecured          216.00          NA          NA             .00                 .00
LVNV FUNDING LLC                   Unsecured        7,236.00    10,106.29   10,106.29     1,940.30                   .00
LVNV FUNDING LLC                   Unsecured          304.00      535.01      535.01         102.72                  .00
LVNV FUNDING LLC                   Unsecured             NA       413.88      413.88          79.46                  .00
MAKI CORPORATION                   Unsecured        3,109.00          NA          NA             .00                 .00
MATTHEW J. BURKINSHAW              Unsecured        5,139.00          NA          NA             .00                 .00
MERCHANTS GUILD GUIDE              Unsecured          231.00          NA          NA             .00                 .00
MONOGRAM BANK                      Unsecured          539.00          NA          NA             .00                 .00
MURRAY DAVENPORT OIL COMPANY       Unsecured          254.00          NA          NA             .00                 .00
NCO FINANCIAL SYSTEMS, INC.        Unsecured          221.00          NA          NA             .00                 .00
NETWORK OF CITY BUSINESS JOURNALS
                               Unsecured               96.00          NA          NA             .00                 .00
NORTHEAST UTILITIES                Unsecured          166.00          NA          NA             .00                 .00
PORTFOLIO RECOVERY ASSOCIATES      Unsecured        6,960.00     8,099.82    8,099.82     1,555.07                   .00
RECOVERY MANAGEMENT SYSTEMS        Other              878.00     1,000.95         .00            .00                 .00
RENTWAY                            Unsecured        1,894.00          NA          NA             .00                 .00
ROBERT JOHN FINK                   Unsecured        4,966.25     6,071.35    6,071.35     1,165.63                   .00
SPRINT PCS                         Unsecured          200.00          NA          NA             .00                 .00
TAYLOR A. GREENE, ESQ.             Special               NA           .00         .00            .00                 .00
TAYLOR A. GREENE, ESQ.             Special               NA           .00         .00            .00                 .00
THE CITIZEN                        Unsecured          678.75          NA          NA             .00                 .00
VATIV RECOVERY SOLUTIONS, LLC      Unsecured        1,177.00          NA          NA             .00                 .00




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In re: TERRY ROY                                                                                        Case No.: 07-44102-MSH
       KANDY ROY
              Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim               Claim          Claim          Principal           Interest
Name                                       Class              Scheduled           Asserted       Allowed        Paid                Paid
VISA                                       Unsecured             6,960.00              NA              NA              .00                 .00

 Summary of Disbursements to Creditors:                                                          Claim          Principal           Interest
                                                                                                 Allowed        Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                          55,737.32             .00                  .00
     Mortgage Arrearage:                                                                              .00             .00                  .00
     Debt Secured by Vehicle:                                                                    7,541.99        1,447.98                  .00
     All Other Secured:                                                                               .00             .00                  .00
 TOTAL SECURED:                                                                                 63,279.31        1,447.98                  .00

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                      .00             .00                  .00
     Domestic Support Ongoing:                                                                        .00             .00                  .00
     All Other Priority:                                                                           305.60          305.60                  .00
 TOTAL PRIORITY:                                                                                   305.60          305.60                  .00

 GENERAL UNSECURED PAYMENTS:                                                                    91,690.25       17,603.48                  .00

 Disbursements:
        Expenses of Administration:                                                            $6,322.94
        Disbursements to Creditors:                                                           $19,357.06
 TOTAL DISBURSEMENTS:                                                                                                            $25,680.00

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:    07/25/2014                                      By:   /s/Denise M. Pappalardo
                                                                                  Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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